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 5   Attorney for JUDY MULLIN
 6
                                   UNITED STATES DISTRICT COURT
 7
                                   EASTERN DISTRICT OF CALIFORNIA
 8
 9
10   UNITED STATES OF AMERICA,                        Case No.: 14-43 GEB

11                    Plaintiff,                      STIPULATION AND ORDER
12                                                    VACATING DATE, CONTINUING
                vs.                                   CASE, AND EXCLUDING TIME
13
14   EDWIN FORREST LUDWIG, IV, et al.,                DATE: January 15, 2016
                                                      TIME: 9:00 a.m.
15                    Defendants.                     JUDGE: Hon. Garland E. Burrell, Jr.
16
17              IT IS HEREBY STIPULATED by and between Assistant United States Attorney
18   Sherry Haus, Counsel for Plaintiff, and Clemente M. Jiménez, Counsel for Judy Mullin,
19   that the status conference scheduled for January 15, 2016, at 9:00 a.m., be vacated and
20   the matter continued to this Court’s criminal calendar on January 22, 2016, at 9:00 a.m.,
21   for further status conference and anticipated change of plea.
22              Based on recent discussions with the government, the defense anticipates
23   receiving a revised plea agreement shortly. Once in receipt of the revised plea
24   agreement, defense counsel will require additional time to review it with Ms. Mullin, then
25   confirm that the matter is ready to proceed with the government and the court.
26              IT IS FURTHER STIPULATED that time within which the trial of this case must
27   be commenced under the Speedy Trial Act, 18 U.S.C. Section 3161 et seq. be excluded
28   from computation of time pursuant to Section 3161(h)(7)(A) and (B)(iv), (Local code T-




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 1   4), and that the ends of justice served in granting the continuance and allowing the
 2   defendant further time to prepare outweigh the best interests of the public and the
 3   defendant to a speedy trial.
 4
 5   DATED:           January 13, 2016           /S/   Sherry Haus_________________
                                                 BENJAMIN B. WAGNER
 6
                                                 by SHERRY HAUS
 7                                               Attorney for Plaintiff
 8
 9                                               /S/   Clemente M. Jiménez_________
                                                 CLEMENTE M. JIMÉNEZ
10                                               Attorney for Judy Mullin
11
12
13                                              ORDER
14              IT IS SO ORDERED, that the status conference in the above-entitled matter,
15   scheduled for January 15, 2016, at 9:00 a.m., be vacated and the matter continued to
16   January 22, 2016, at 9:00 a.m., for further status conference and anticipated change of
17   plea. The Court finds that time under the Speedy Trial Act be excluded from
18   computation of time pursuant to Section 18 U.S.C. 3161(h)(7)(A) and (B)(iv), (Local
19   code T-4), and that the ends of justice served in granting the continuance and allowing
20   the defendant further time to prepare outweigh the best interests of the public and the
21   defendant to a speedy trial.
22   Dated: January 14, 2016
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